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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 TIFFANY PACHECO,

            Plaintiff,                                            Case No. 4:23-cv-01022

 v.

 CONSUMER LAW RELIEF, LLC d/b/a
 HELBING LAW GROUP, LLC,

            Defendant.


                               DEMAND FOR ARBITRATION

       NOW COMES TIFFANY PACHECO (“Plaintiff”), by and through the undersigned

counsel, complaining as to the conduct of HELBING LAW GROUP, LLC (“HLG” and

“Defendant”) as follows:

                                     NATURE OF THE ACTION

       1.       Plaintiff brings this action seeking redress pursuant to the Credit Repair

Organizations Act (“CROA”) pursuant to 15 U.S.C. §1679 et seq., and the New York Credit

Services Business statute, pursuant to N.Y. Gen Bus. 28-BB §458 et seq., for Defendant’s unlawful

conduct.

                                JURISDICTION AND VENUE

       2.       This action arises under and is brought pursuant to the CROA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C. §§1331 and

1337, as the action arises under the laws of the United States.

       3.       Supplemental Jurisdiction exists over Plaintiff’s state law claim pursuant to 28

U.S.C. §1367.

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       4.      Venue in this district is proper under 28 U.S.C. § 1391(b)(1-2) because Defendant

is domiciled in Houston, Texas, Defendant conducts business in the Southern District of Texas,

and a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred within

the Southern District of Texas.

                                             PARTIES

       4.      Plaintiff is a consumer over 18 years-of-age residing in Queens, New York City,

New York.

       5.      Defendant is a credit repair organization that negotiates consumer debts, provides

consumers with legal and non-legal services designed to resolve their debt issues and improve their

credit history, including representing and defending clients in court in any lawsuit, arbitrations or

other proceedings filed against the consumer. Defendant’s principal place of business is located at

12333 Sowden Rd. Suite B, #79507, Houston, Texas 77080.

       6.      Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

       7.      In June 2021, Plaintiff had a number of debts which were impacting her credit,

prompting her to begin looking for companies who may be able to assist her in improving her

credit and resolving her obligations.

       8.      Later that month, Plaintiff found Defendant due to its representations that it could

help consumers resolve their obligations by negotiating with creditors to reduce her outstanding

debts and to remove creditors from her consumer credit reports.




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       9.      Plaintiff spoke with Defendant who again advised that Defendant would be able to

resolve her obligations by negotiating with creditors to reduce her outstanding debts and to

remover creditors from her consumer credit reports, and that in order to do so, Plaintiff would need

to make monthly payments over a certain period of time, which would go towards Defendant

resolving her obligations.

       10.     Additionally, per the retainer agreement between Plaintiff and Defendant,

Defendant would provide legal counsel in regards to all of Plaintiff’s debts and would represent

Plaintiff in the event any lawsuit or other legal proceedings were filed against Plaintiff.

       11.     Specifically, Defendant promised that within 1 year of its services, Defendant will

settle all of her enrolled debts, to handle all court adjudications regarding those debts, and her

credit score will see a substantial increase within 3 to 6 months from the date she retained

Defendant. Again, Plaintiff detrimentally relied on Defendant’s promises.

       12.     Plaintiff explained the debts she wanted addressed, and Defendant advised that it

would be able to resolve her enrolled debts for monthly payments of $491.73 that would be used

to negotiate her debts and improve her creditworthiness. Plaintiff detrimentally relied on

Defendant’s promises.

       13.     On June 10, 2021, based on this information, Plaintiff entered into a contract with

Defendant for its provision of credit repair and debt management services.

       14.     Plaintiff proceeded to make her monthly payments to Defendant.

       15.     Defendant told Plaintiff that it would handle her listed debts and negotiate with her

creditors to negotiate a settlement on her behalf.




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        16.     Despite telling Plaintiff it would negotiate with Plaintiff’s creditors, Plaintiff

received a letter in the mail from a debt collector who purchased a debt from American Express,

Plaintiff’s creditor.

        17.     Defendant failed to handle Plaintiff’s American Express account as it was sent to

collections and bought by a debt collector on December 9, 2021.

        18.     Plaintiff then attempted to contact Defendant regarding the American Express

account being sent to a debt collector. Defendant continued to assure Plaintiff that her accounts

were being handled and that it was in contact with her creditors to negotiate a settlement.

        19.     On January 4, 2023, Plaintiff settled her American Express account directly with

the debt collector without any intervention by Defendant, who previously promised Plaintiff it

would settle this debt.

        20.     After many months of making payments, Plaintiff had none of her enrolled debts

reduced, or seemingly even negotiated by Defendant, despite there being ample funds from which

such negotiations and resolutions should have been reached.

        21.     Frustrated, distressed, and concerned over Defendant’s conduct, Plaintiff spoke

with the undersigned attorney regarding her rights.

        22.     Plaintiff has suffered concrete harm as a result of Defendant’s actions, including

but not limited to, emotional distress, aggravation, mental anguish, pecuniary loss stemming from

the payments made to Defendant for deficient credit repair services, payments made to Defendant

in violation of federal law, as well as numerous violations of her state and federally protected

interests to be free from deceptive and misleading conduct on the part of purported credit repair

organizations and debt management companies.




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                COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

          23.    Plaintiffs repeat and reallege paragraphs 1 through 22 as though fully set forth

herein.

          24.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.

          25.    Defendant is a “credit repair organization” as defined by §1679a(3) of the CROA,

as it is a person who uses any instrumentality of interstate commerce or the mails to sell, provide,

or perform any service, in return for the payment of money or other valuable consideration, for the

express or implied purpose of improving a consumer’s credit, credit history, or credit rating, or

providing assistance to any consumer with regard to any activity or service for the purpose of

improving a consumer’s credit.

          26.    At all relevant times, Defendant represented to Plaintiff, both directly and by

implication, that successfully completing Defendant’s program would, ultimately, result in all of

her debts being paid off, and that any lawsuit against her would be represented by Defendant.

Additionally, Defendant conveyed to Plaintiff that her overall creditworthiness would improve in

3 to 6 months after signing up.

          a.     Violations of CROA § 1679b(a)

          27.    The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from

“mak[ing] or us[ing] any untrue or misleading representation of the services of the credit repair

organization.” Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any person is prohibited from

“engag[ing], directly or indirectly, in any act, practice, or course of business that constitutes or

results in the commission of, or an attempt to commit, a fraud or deception on any person in

connection with the offer or sale of the services of the credit repair organization.”




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       28.     Defendant violated the above referenced provisions of the CROA through its

misrepresentations and deception as to the nature of the credit repair services it could provide

Plaintiff. Despite Plaintiff having made sufficient funds for Defendant to begin negotiating her

obligations, and despite such resolution offers being readily available, Defendant failed to engage

in any of the services it represented it would perform for Plaintiff, instead deceiving Plaintiff for

her monthly payments without providing any of the services it represented it would perform.

       b.      Violation of CROA § 1679b(b)

       29.     The CROA, pursuant to 15 U.S.C. § 1679b(b), states that “[n]o credit repair

organization may charge or receive any money or other valuable consideration for the performance

of any service which the credit repair organization has agreed to perform for any consumer before

such service is fully performed.”

       30.     Defendant violated § 1679b(b) as it charged and received money from Plaintiff in

exchange for the performance of its services before such services were fully performed. Defendant

has maintained Plaintiff’s bi-weekly payments, and failed to return the same, despite Defendant

having failed to perform any of the services that would justify Defendant’s retention of Plaintiff’s

monthly payments.

       c.      Violation of CROA § 1679c

       31.     The CROA, pursuant to 15 U.S.C. § 1679c, outlines various disclosures that CROs

must provide to consumers prior to entering into contracts with consumers.

       32.     Defendant violated § 1679c through its complete failure to provide Plaintiff a copy

of the required disclosures.




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        d.      Violation of CROA §§ 1679d(4) & 1679e

        33.     The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair organization

to include, in the contract between them and a consumer, “a conspicuous statement in bold face

type, in immediate proximity to the space reserved for the consumer’s signature on the contract,

which reads as follows: ‘You may cancel this contract without penalty or obligation at any time

before midnight of the 3rd business day after the date on which you signed the contract. See the

attached notice of cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further

outlines the extent of a consumer’s cancellation rights under CROA while requiring such

disclosure to be given to consumers in writing.

        34.     Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete failure to

provide the above disclosure in immediate proximity to the space reserved for Plaintiff’s signature

on the contract, as well as its failure to provide the full notice of cancellation to Plaintiff outlining

that Plaintiff may cancel prior to the third business day.

    WHEREFORE, Plaintiff, TIFFANY PACHECO, respectfully requests that the Honorable

Court enter judgment in her favor as follows:

        a.      Declaring that the practices complained of herein are unlawful and violate the

                aforementioned bodies of law;

        b.      Awarding Plaintiff actual damages to be determined at trial, as provided under 15

                U.S.C. § 1679g(a)(1);

        c.      Awarding Plaintiff punitive damages, in an amount to be determined at trial, as

                provided under 15 U.S.C. § 1679g(a)(2)(A);

        d.      Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.

                § 1679g(a)(3); and



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          e.     Awarding any other relief as this Honorable Court deems just and appropriate.


                COUNT II – VIOLATIONS OF N.Y. GEN. BUS. LAW §§ 458-H ET SEQ.

          35.    Claimant restates and realleges paragraphs 1 through 34 as though fully set forth

herein.

          36.    N.Y. Gen. Bus. Law § 458(h)(1) states that it is hereby declared to be an unfair and

deceptive to “Misrepresent directly or indirectly in its advertising, promotional materials, sales

presentation, or in any manner: the nature of the services to be performed; the time within

which services will be performed; the ability to improve a consumer's credit report or credit

rating; the amount or type of credit a consumer can expect to receive as a result of the performance

of the services offered; the qualifications, training or experience of its personnel.”

          37.    Defendant violated N.Y. Gen. Bus. Law § 458(h)(1) through its misrepresentations

and deception as to the nature of the credit repair services and debt settlement services it could

provide Plaintiff. Despite Plaintiff having made sufficient funds for Defendant to begin negotiating

her obligations, and despite such resolution offers being readily available, Defendant failed to

engage in any of the services it represented it would perform for Plaintiff, instead deceiving

Plaintiff for her monthly payments without providing any of the services it represented it would

perform.

          38.    As alleged above, Defendant’s conduct has caused Plaintiff significant damages.

          39.    Pursuant to N.Y. Gen. Bus. Law § 458(I), Plaintiff is entitled to damages not to

exceed three times the actual damages, but in no case less than the amount paid by Plaintiff to

Defendant, including reasonable attorney’s fees and costs.




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   WHEREFORE, Plaintiff, TIFFANY PACHECO, respectfully requests that the Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the

       aforementioned bodies of law;

   b. Awarding Plaintiff actual damages to be determined at trial, as provided under N.Y. Gen.

       Bus. Law § 458(I);

   c. Awarding Plaintiff costs and reasonable attorney fees as provided under N.Y. Gen. Bus.

       Law § 458(I); and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: March 20, 2023                               Respectfully submitted,

                                                    s/ Marwan R. Daher
                                                    Marwan R. Daher, Esq.
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